                                    Exhibit 6A
                    Excerpts of Deposition of Kevyn D. Orr




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 1 Jones Day.                                                  1 factors were considered by Mr. Orr, but obviously if
 2 A. Absolutely.                                              2 you're going to ask what he was -- what he was advised
 3 Q. You may have or did from local counsel.                  3 by counsel, then I'm going to instruct him not to
 4 A. Yes.                                                     4 answer.
 5 Q. And you can't recall whether you did from the City's     5 A. When I say more than likely, that's -- that's exactly
 6 law department.                                             6 the distinction that I'm trying to make. Did I have
 7 A. Yes.                                                     7 discussions with my counsel? Yes. Did those
 8 Q. Are you waiving the attorney-client privilege in         8 discussions take into consideration some of those
 9 connection with the motion to assume the forbearance        9 factors? Yes. Am I going to tell you what those
10 agreement?                                                 10 discussions were and what, if any, conclusions were
11    MR. SHUMAKER: Objection, could call for                 11 made? No.
12 the revelation of attorney-client communication.           12    BY MR. HACKNEY:
13    You can answer the question, but yes or no.             13 Q. Okay. Fair enough.
14 A. No.                                                     14    On July 15, 2013, the City entered into
15    BY MR. HACKNEY:                                         15 what we're going to call the forbearance agreement
16 Q. If I ask you questions regarding the legal advice       16 with the Swap counterparties and the service
17 rendered to you in connection with the forbearance         17 corporations; is that correct?
18 agreement's negotiation or execution, you will refuse      18 A. Yes.
19 to answer those questions on the grounds of the            19 Q. When did negotiations around that agreement with the
20 attorney-client privilege; is that correct?                20 Swap counterparties begin after your appointment?
21    MR. SHUMAKER: If you're asking what the                 21 A. I think there were discussions about negotiations
22 advice is, certainly. The communications between           22 almost immediately after my appointment. My specific
23 counsel and what he was -- what he was advised on,         23 knowledge -- when you say negotiations, what do you
24 certainly.                                                 24 mean?
25    THE WITNESS: Right.                                     25 Q. Well, let me -- let me ask it a different way, which


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 1    BY MR. HACKNEY:                                          1 is isn't it true that Mr. Buckfire was the lead
 2 Q. Okay. That's correct?                                    2 negotiator for the City on the business terms of what
 3 A. Yes. That is correct.                                    3 became the forbearance agreement?
 4 Q. So if I ask you what your view is on the likelihood      4 A. Yes.
 5 that the City's Swap and validity arguments will            5 Q. And Mr. Buckfire has testified that the negotiations
 6 prevail, you will assert the attorney-client                6 in earnest regarding what became the forbearance
 7 privilege; is that correct?                                 7 agreement were conducted between June 4th and
 8 A. Yes, more than likely.                                   8 June 11th of 2013?
 9 Q. If I ask you your view on the likelihood that the        9 A. I don't recall those specific dates, but I think
10 pledge of the gaming revenues under the Michigan           10 that's the right time frame. Let me -- let me try to
11 Gaming Act is an invalid pledge, you'll assert the         11 be as clear as I can so we can move on. We began
12 attorney-client privilege, correct?                        12 talking, discussing ways with my advisors, without
13 A. Yes, more than likely.                                  13 discussing what we discussed, to provide the City with
14 Q. If I ask you questions regarding the likelihood that    14 liquidity almost immediately upon my appointment. The
15 the City would prevail on a claim or defense against       15 negotiations that you're referring to I believe did
16 the Swap counterparties, you'll assert the                 16 occur within that time frame.
17 attorney-client privilege, correct?                        17 Q. Okay. So you don't have a basis as you sit here today
18 A. Yes, more than likely.                                  18 to contradict Mr. Buckfire's recollection of when the
19 Q. And I guess I gotta clarify. When you say more than     19 key negotiations over the business terms of the
20 likely, I mean are you asserting the privilege with        20 forbearance agreement were conducted?
21 respect to those types of questions? I'm trying to         21 A. No. It might be earlier, but that's the approximate
22 save having to --                                          22 time frame.
23 A. Sure.                                                   23 Q. And as he was the lead negotiator, he's probably the
24    MR. SHUMAKER: Let me state for the record               24 guy who would know, right?
25 you can ask questions as to whether those -- those         25 A. Sure, absolutely.


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 1 various obligations both under the COPs and the Swap?        1 course and scope of their employment as employees of
 2 A. I believe that's true.                                    2 the City.
 3 Q. They don't have any independent sources of income?        3 Q. Okay. So as you sit here today, you can't say that
 4 A. To the best of my knowledge, they do not.                 4 that indemnification policy would extend to City
 5 Q. And your view today is that the City of Detroit is        5 employee actions taken in their capacity as service
 6 insolvent, correct?                                          6 corporations --
 7 A. Yes, yes.                                                 7 A. Correct.
 8 Q. And fair to assume that by extension the service          8    MR. SHUMAKER: Objection, calls for a legal
 9 corporations are also insolvent, too?                        9 conclusion.
10    MR. SHUMAKER: Objection, calls for                       10    BY MR. HACKNEY:
11 speculation.                                                11 Q. I will -- I'm sorry.
12 A. I don't know if that's true or not.                      12 A. Okay.
13    BY MR. HACKNEY:                                          13 Q. As emergency financial manager, you control the salary
14 Q. Now, isn't it true that the composition of the service   14 of all City employees; isn't that correct?
15 corporations' boards of directors includes three City       15 A. As emergency manager.
16 officers and at least one City Council member?              16 Q. As emergency manager, right.
17 A. Yes. I think I said before there are City employees      17 A. Right.
18 and City representatives on the boards.                     18 Q. Sorry. Is that the proper --
19 Q. And in fact the person who signed the forbearance        19 A. It changed with Public Act 436. Public Act 72 was EFM
20 agreement on behalf of the service corporations was         20 and now I'm an EM.
21 the president of both service corporations, correct?        21 Q. Okay. Got to get my lingo.
22 A. Yes, I believe so.                                       22 A. Yeah.
23 Q. And her name is Cheryl Johnson, right?                   23 Q. And you do, as emergency manager, control the salary
24 A. Yes.                                                     24 of all City employees, correct?
25 Q. And she is also the City's finance director, correct?    25 A. I have the authority to control the salary of all City


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 1 A. Yes.                                                      1 employees. I have not exercised that authority for
 2 Q. Okay. Portia Roberson --                                  2 all City employees.
 3 A. Um-hm.                                                    3 Q. Okay. And you have the power to reduce those City
 4 Q. -- is the City's corporation counsel, right?              4 employee salaries to zero if you choose, correct?
 5 A. Yes.                                                      5 A. I think I do, yes.
 6 Q. And she's also on the board of both service               6 Q. And you have done that on at least one prior occasion,
 7 corporations, correct?                                       7 I believe, correct?
 8 A. To the best of my knowledge, that's true.                 8 A. Yes, I did do that.
 9 Q. Do you know who made the decision at the service          9 Q. Okay. Now, are you aware that the insurers, the Swap
10 corporations to enter into the forbearance agreement?       10 insurers, like Syncora and FGIC, contend that the
11 A. I do not.                                                11 hedges cannot be terminated without their consent
12 Q. Did you have any conversations with either Ms. Johnson   12 where there are termination events or events of
13 or Ms. Roberson about the service corporations              13 default?
14 entering into the forbearance agreement?                    14 A. I have heard that. I m -- I have no independent
15 A. No.                                                      15 awareness of that.
16 Q. Isn't it true that the policy of the City is to          16 Q. So when did you first hear that?
17 indemnify the service corporation directors for             17 A. I think it was all caught up in this time frame of
18 actions they take in their capacity as City employees?      18 the -- of the discussion after the agreement in
19 A. I don't know that.                                       19 principle, before the forbearance agreement was
20 Q. You don't know if that's the policy of the City?         20 reached.
21 A. I do not. I know the City has an indemnification         21 Q. Your best recollection is that you heard that prior to
22 policy. I don't know if it applies to the service           22 the execution of the forbearance agreement?
23 corporations.                                               23 A. I believe it may have been prior to execution.
24 Q. Okay, but does it apply to the City employees?           24 Q. But you have taken -- you have taken no steps to
25 A. It applies to City employees acting within their         25 evaluate whether the City concurs with the insurers'


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 1 construction on this point?                                1 A. I will assert the privilege.
 2 A. No. I don't think that's exactly true. I think there    2 Q. And if I ask you what are the arguments for and
 3 were -- as I said before, there were a series of           3 against this point, you'll assert the privilege.
 4 letters and discussions that went on from the second       4 A. I will assert the privilege, but I am aware there are
 5 week of June throughout some point in July where I         5 a number of objections that have been filed in the
 6 believe there may have been discussions in that            6 case that have addressed those issues and none of them
 7 regard, validity of that point.                            7 have caused me any surprise.
 8 Q. Okay. But if I ask you to express the City's view on    8 Q. If I said that the City -- if I asked you what the
 9 the legal merits of the insurers' contention that they     9 City's view is on -- well, let me take a step back.
10 have the right to consent, you'll decline to answer       10    Do you agree that the insurers can block an
11 those questions because it tends to reveal the            11 early termination of the Swap, that this would be
12 attorney-client privilege.                                12 important to assessing whether the City was in danger
13    MR. SHUMAKER: That's right and also calls              13 of owing a termination payment?
14 for a legal conclusion, yes.                              14    MR. SHUMAKER: Objection, calls for a legal
15    MR. HACKNEY: But you'll -- I want to save              15 conclusion.
16 a big string of questions, so if I want to ask him        16 A. Yes, same thing. I'd only have a response to that
17 what are the pros and cons of the argument, who's         17 based upon discussions I've had with counsel.
18 likely to win, how will it all come out --                18    BY MR. HACKNEY:
19    BY MR. HACKNEY:                                        19 Q. Do you agree that the insurers can block a
20 Q. You won't answer those questions on the grounds of     20 termination, that it would make sense to negotiate
21 the -- because it would tend to reveal attorney-client    21 with the insurers to determine whether you can secure
22 advice, correct?                                          22 their agreement not to consent to any termination?
23    MR. SHUMAKER: Well, I don't want to                    23    MR. JURGENS: Objection, form.
24 prevent you from asking any questions and I don't --      24    MR. SHUMAKER: Same objection.
25 but if he has an understanding independent of advice      25 A. Same response. It would only be based upon


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 1 he's given -- but clearly to the extent it's going to      1 discussions I've had with counsel.
 2 reveal attorney-client communication, I will tell him      2    BY MR. HACKNEY:
 3 not to answer.                                             3 Q. Are you aware that the insurers contend that they have
 4    MR. HACKNEY: Okay. I'll ask him that.                   4 the right to control all actions that may be taken by
 5    BY MR. HACKNEY:                                         5 the Swap counterparties in connection with the -- with
 6 Q. Does the City concur in the insurers' view?             6 the Swaps?
 7    MR. SHUMAKER: Objection, calls for a legal              7 A. I am aware of that, yes.
 8 conclusion and could ask for attorney-client               8 Q. When did you first develop that awareness?
 9 communications.                                            9 A. During some course of the correspondence that occurred
10    MR. HACKNEY: Are you instructing him not               10 during this time frame that we previously discussed
11 to answer?                                                11 today.
12    MR. SHUMAKER: To the extent that the                   12 Q. And have you taken steps to evaluate whether the City
13 question goes to that, yes.                               13 concurs with the insurers' construction of the
14 A. Maybe I can help out in this line of questioning.      14 operative documents on this point?
15 Any -- I have not acted as an attorney on this job for    15 A. Have we taken steps? Yes.
16 the aforementioned reasons, so any opinion that I         16 Q. Yeah. And what is the City's position?
17 would express on behalf of the City in this regard        17    MR. SHUMAKER: Objection, calls for the
18 would be solely as a result of communications with        18 provision of attorney-client communications, and I
19 counsel and discussions.                                  19 will instruct him not to answer.
20    BY MR. HACKNEY:                                        20    BY MR. HACKNEY:
21 Q. That was my expectation. So if I ask you if the City   21 Q. Yeah, I'm just going -- I'm making a record here.
22 concurred, that's going to get into what your lawyer      22 Okay? I don't want to have -- I tried to --
23 thinks.                                                   23 A. I'm with you. I'm with you.
24 A. That's exactly right.                                  24 Q. And if I ask you what the arguments are on both sides
25 Q. So you -- you will assert the privilege.               25 of this point, you'll also refuse to answer on the


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 1 Q. And what advisors did you rely upon in making this        1 A. Yeah. That's a --
 2 decision?                                                    2    MR. SHUMAKER: Object to form.
 3 A. My attorneys, Mill -- my investment banker, Miller        3 A. That's a fair characterization. As I said, I'm trying
 4 Buckfire; our accountants, Ernst & Young; virtually --       4 to stay away from acting as an attorney in this job.
 5 virtually -- Conway McKenzie, our operational advisor,       5    BY MR. HACKNEY:
 6 virtually all of them.                                       6 Q. Okay.
 7 Q. All of your third party advisors?                         7 A. For a number of reasons.
 8 A. Yes, yes.                                                 8 Q. So you relied on your advisors to explain to you how
 9 Q. And anyone else that you relied upon in making the        9 the COP Swap agreements worked?
10 decision?                                                   10 A. Yes.
11 A. Oh, probably members of my immediate staff such as my    11 Q. And you also relied on them to explain to you how the
12 senior advisor, chief of staff, but less so. More of        12 COP Swap agreements worked in conjunction with the
13 my outside third party advisors.                            13 forbearance agreement that you were about to execute?
14 Q. What documents did you rely upon in making the           14    MR. JURGENS: Object to form.
15 decision, if any?                                           15 A. Yes.
16 A. We looked at a number of -- the term sheet, the actual   16    BY MR. HACKNEY:
17 draft of the forbearance agreement. There may have          17 Q. So what is the relationship between the forbearance
18 been some e-mails. I just recall a lot of telephone         18 agreement and the COPs Swap structure?
19 calls. There may have been some forecast, cash              19 A. Well, my understanding is that the forbearance
20 forecast, and actuals, and some of the public reports       20 agreement is related to the Swaps structure, but that
21 I had issued regarding our cash position.                   21 the COPs structure is unrelated.
22 Q. Any other documents you can remember considering as      22 Q. Okay. So the forbearance agreement is part of the
23 part of this decision to enter into the forbearance         23 same subject matter as the collateral agreement and
24 agreement?                                                  24 the Swaps agreement, but not the COPs part of the
25 A. There may have been correspondence. As I said, there     25 structure?


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 1 were letters that were exchanged between Mr. LeBlanc         1 A. That's my understanding.
 2 and myself, and others, the letter you showed me             2 Q. Okay. In your legal career, have you come across the
 3 today. I'm just trying to capture the universe of            3 concept of the idea that two different contracts can
 4 what would have been included, but any -- any and all        4 be part of one integrated transaction?
 5 documents related to this that I would have seen would       5 A. Sure. Yes.
 6 probably fall under that characterization.                   6 Q. You're familiar with that as an idea?
 7 Q. Any legal memoranda from Jones Day that you considered    7 A. Oh, yeah, sure.
 8 in making this decision?                                     8 Q. Okay. What do you understand that to mean?
 9 A. Yes, probably.                                            9    MR. SHUMAKER: Objection, form.
10 Q. Okay. Written legal memoranda that you reviewed?         10 A. There are a number of ways that two different
11 A. Yeah, including e-mails. Yeah.                           11 documents were -- may refer to the other, as simple as
12 Q. Now, did you take time to familiarize -- to              12 attachments, exhibits, the master -- the master
13 familiarize yourself with any of the legal documents        13 service agreement on a loan, for instance. There are
14 relating to the COPs Swap structure in connection with      14 a number of ways that one document can relate to
15 your decision to execute the forbearance agreement?         15 another as explicitly expressed and intended.
16 A. I relied -- I may have seen them, but I relied upon      16    BY MR. HACKNEY:
17 consultation with my counsel and investment bankers.        17 Q. Yeah, and I know this is a -- you know, we're not
18 Q. The documents I'm referring to are -- can we agree       18 talking about was the stoplight red or green here, but
19 they're relatively complicated legal documents?             19 you are also a lawyer with a relatively --
20 A. Yeah, I'd say they're not simple documents. It's not     20 A. I was.
21 a -- you know, an auto purchase contract, yeah.             21 Q. -- sophisticated clientele and experience?
22 Q. Right. So can I fairly characterize that -- that you     22 A. Well --
23 may have looked at the documents, but you didn't            23 Q. You understand the idea that two different contracts
24 attempt to master -- master them in terms of their          24 can form part of one larger agreement?
25 legal ins and outs?                                         25 A. Oh, sure. Yeah.


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 1 Q. Is the forbearance agreement part of an integrated        1 legal question?
 2 transaction with the amended Swap agreements?                2 A. I'm saying I can't reveal attorney-client
 3    MR. SHUMAKER: Objection, calls for a legal                3 communications, and based upon the characterization, I
 4 conclusion.                                                  4 have formed no independent decision outside of
 5 A. Yeah, I'm going to stay away from characterizing it as    5 discussions with my attorney as to whether or not
 6 an integrated transaction. That may have legal               6 they're integrated.
 7 consequence. I know they are related.                        7 Q. Okay. Let me ask you the reverse question, which is,
 8    BY MR. HACKNEY:                                           8 is the forbearance agreement a separate agreement from
 9 Q. Okay. They are related, but you can't answer today        9 the collateral agreement?
10 whether they're part of an integrated transaction as        10 A. Is it a separate agreement?
11 the person who executed it on behalf of the City?           11 Q. Yeah.
12 A. Yeah.                                                    12 A. I believe it's related to it, but yeah, it was a
13    MR. SHUMAKER: Same objection.                            13 separate agreement, sure. It wasn't entered into
14 A. Yeah, because -- because of legal implications of        14 contemporaneously.
15 using that nomenclature.                                    15 Q. Meaning one that does not form part of a common
16    BY MR. HACKNEY:                                          16 agreement with the collateral agreement?
17 Q. Okay. So it may be, it may not be, you just don't        17 A. Here again, you're using a characterization as common
18 know?                                                       18 agreement or integrated. I'm going to stay away
19 A. Precisely. I'll rely on the attorneys to characterize    19 because those may have legal connotations. What I
20 that.                                                       20 know is the forbearance agreement was entered into in
21 Q. Is the forbearance agreement part of an integrated       21 2009, and the collateral agreement attempts to resolve
22 transaction with the collateral agreement?                  22 issues of default that are raised by the forbearance
23    MR. SHUMAKER: Same objection.                            23 agreement and also including obligations of the City.
24 A. Same answer. I'll rely on the attorneys to               24 Q. Isn't it -- I'd like to shift and ask you a question
25 characterize it as integrated. I know I signed the          25 about the service agreements between the City and the


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 1 forbearance agreement.                                       1 service corporations.
 2    BY MR. HACKNEY:                                           2 A. Okay.
 3 Q. You did?                                                  3 Q. Isn't it true that the City is in default of its
 4 A. Yes.                                                      4 obligations under the service agreements because it
 5 Q. So it may be, it may not be, you don't know?              5 missed the --
 6 A. Correct.                                                  6 A. June 14th payment?
 7 Q. And did you consider any of those questions when you      7 Q. That's right.
 8 entered into the forbearance agreement?                      8 A. We're in default.
 9 A. We may have had some discussions. The question such       9 Q. Okay. And isn't it also true that the City is not
10 as whether they're integrated or supersede or are           10 proposing to cure those defaults in connection with
11 related may have been discussed.                            11 the assumption of the forbearance agreement?
12 Q. But as you sit here today, you can't answer my           12 A. I believe that's true.
13 question about whether it is integrated into other          13 Q. And you would agree that the City is not going to
14 agreements or not?                                          14 provide assurances that it will perform with the
15 A. True. I'm going to re -- because of the possible         15 service agreements in the future, correct, as part of
16 legal implications of anything I say, I'm going to          16 the assumption motion?
17 rely on our counsel.                                        17 A. I'm going to be careful here because we're -- we're
18 Q. Okay. Well, I guess there are legal implications of      18 trying to have discussions about what we're going to
19 all of the testimony that you give today --                 19 do with regard to the proposal, so I don't want to say
20 A. Yeah.                                                    20 now something that may or may not occur in the future,
21 Q. -- both good and bad.                                    21 but there is no present intent -- in response to your
22 A. Right.                                                   22 question, no present intent to do that.
23 Q. So I guess are you saying that you can't reveal          23 Q. You certainly haven't represented that you will as
24 attorney-client communications or are you saying that       24 part of the assumption motion?
25 you just don't know the answer to this particular           25 A. Yes.


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 1 that cash in terms of going forward.                         1 automatically.
 2 Q. Now, if the collateral agreement operates the trapped     2 Q. Okay. And is that based on conversations you've had
 3 cash automatically upon an event of default under the        3 with counsel?
 4 Swap --                                                      4 A. Yes.
 5 A. Um-hm.                                                    5 Q. And if I ask you for the pros and cons of that
 6 Q. -- is there anything in the forbearance agreement that    6 argument as to who's likely to win and how the City
 7 alters that mechanism?                                       7 came to its view, you would refuse to answer those
 8    MR. SHUMAKER: Objection, calls for legal                  8 questions on the basis of the attorney-client
 9 conclusion.                                                  9 privilege, correct?
10 A. Yeah, here again, your conclusion if it acts to trap     10 A. Yes, sir.
11 automatically, I don't know if I would characterize it      11 Q. Now, you also mentioned that the forbearance
12 that way. I know that the agreements work that money        12 agreement -- or we talked about the idea that the
13 comes in on a daily basis. That money is put into I         13 forbearance agreement provides for a workable unwind
14 think one account. At the end of each month, some           14 of the Swap, correct?
15 portion of that money is sent out to another account,       15 A. Right.
16 and every quarter that money is disbursed. I'm not          16    MR. JURGENS: Objection to form.
17 going to characterize as to whether or not it would --      17    BY MR. HACKNEY:
18 it would change that mechanism automatically.               18 Q. How does it do that?
19    BY MR. HACKNEY:                                          19 A. Well, my understanding, as I said before, in the
20 Q. Okay. You can't say if it does or it doesn't?            20 forbearance agreement, the parties agree to certain --
21 A. Correct.                                                 21 certain events that we will pay -- meaning the City --
22 Q. And can you say here today whether the collateral        22 will pay a discount, an optional termination payment
23 agreement operates automatically or does not?               23 or cause that payment to be made; that in
24 A. The collateral agreement, it's my understanding, using   24 consideration for that payment, the parties to the
25 your words automatically, operates to trap cash, but        25 agreement will release any claims they have to


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 1 maybe not in the way that is detrimental to the City.        1 trapping the casino revenue; and, here again, the
 2 It has two accounts, a subrecipient holding account --       2 parties will release their liens and any potential
 3     COURT REPORTER: Subrecipient?                            3 claims they have against the insured.
 4     THE WITNESS: Subrecipient.                               4 Q. The discount that you obtained through the
 5 A. -- two accounts, an initial general account and then a    5 negotiations that Mr. Buckfire led --
 6 subrecipient account. We'll just call them that.             6 A. Right.
 7     Those monies come in -- so when you use                  7 Q. -- is a discount to the so-called early termination of
 8 automatic, those monies come in daily, but they're           8 the Swap.
 9 disbursed according to the terms, and have been              9 A. Yes.
10 disbursed according to their terms.                         10 Q. Correct?
11 Q. I'm not talking about interim trapping that --           11 A. Yes.
12 A. Right.                                                   12 Q. So if you just read the Swap agreement, it would -- it
13 Q. -- happens in the first part of the month until the      13 implies a termination value, correct?
14 whole bank account builds up.                               14    MR. JURGENS: Objection, form.
15 A. Right.                                                   15    MR. SHUMAKER: Objection, Calls for --
16 Q. I'm talking about what I'll call big time cash           16    BY MR. HACKNEY:
17 trapping upon an event of default --                        17 Q. It implies an early termination value?
18 A. Right.                                                   18    MR. JURGENS: Objection to form.
19 Q. -- or termination event.                                 19 A. We'll use a nomenclature. It implies a value for
20 A. Right.                                                   20 termination fee that I understand represents the loss
21 Q. So let me go back. I guess my question is, like, do      21 expectation of the counterparties.
22 you have a view on whether that big time cash trapping      22    BY MR. HACKNEY:
23 is supposed to happen automatically under the               23 Q. That's exactly right.
24 collateral agreement?                                       24    And the discount you negotiated in the
25 A. My understanding is that it does not happen              25 forbearance agreement is a discount to that amount in


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 1 Q. I want to go back to the forbearance agreement. We       1    MR. HACKNEY: I understand you want to
 2 were talking about the things that it does in terms of      2 preserve objections. This is the individual who
 3 providing access to casino revenues, allowing for an        3 signed the agreement --
 4 unwind of the Swap. These were my descriptions of           4 A. Yeah, the --
 5 it --                                                       5    MR. HACKNEY: -- so I'm asking him for his
 6 A. Right.                                                   6 understanding.
 7 Q. -- candidly, from your motion --                         7    MR. SHUMAKER: Okay. That's fine.
 8 A. Right.                                                   8 A. Yeah, the mechanism is such that it's not our
 9 Q. -- but we were talking generally about these things.     9 termination, that it's the parties -- it's the
10 The valuable consideration that the City gets under        10 counterparties' termination.
11 the forbearance agreement are all things that it can       11    BY MR. HACKNEY:
12 exercise without any consent from any other party,         12 Q. That's right. It's their termination right, but the
13 correct?                                                   13 City gets to direct them to exercise it.
14     MR. SHUMAKER: Objection, calls for a legal             14 A. Correct.
15 conclusion.                                                15 Q. Okay. Is that a right that the City currently
16     You can answer.                                        16 possesses under any of the other agreements to the
17 A. That's my understanding of the way it works, yeah.      17 best of your knowledge?
18     BY MR. HACKNEY:                                        18 A. To the best of my knowledge, no.
19 Q. Do you agree that the effect of the forbearance         19 Q. That's a right it obtained as a result of the
20 agreement, if the option is exercised, is to modify        20 forbearance agreement, correct?
21 the amount of the termination payment owed under the       21 A. Correct.
22 Swaps down to whatever percentage is applicable as of      22 Q. And the City's able to exercise that right to direct
23 that date?                                                 23 the actions of the Swap counterparties without the
24     MR. JURGENS: Objection to form.                        24 consent of any third party, correct?
25     MR. SHUMAKER: Objection, form, calls for a             25 A. To the best of my knowledge, that's true.


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 1 legal conclusion.                                           1 Q. Now, if Syncora has the right to control all actions
 2 A. If you're talking about the forbearance agreement and    2 of the Swap counterparties under the contract
 3 the formula that's involved for the percentage change       3 administration agreement, your position is that the
 4 depending upon -- as linked to time, as well as the         4 forbearance agreement overrides that provision in the
 5 requirement that we get approval of the agreement at a      5 contract administration agreement; is that correct?
 6 certain time period, yes, that's true.                      6    MR. SHUMAKER: Objection, calls for
 7    BY MR. HACKNEY:                                          7 speculation.
 8 Q. Okay. I mean the effect of the forbearance agreement     8 A. I think it calls for speculation and it also
 9 is that instead of owing what the City would owe under      9 essentially implies a legal analysis. I will defer to
10 the Swap, which is the hundred percent of the              10 my counsel as to what our position would be. What I
11 termination value, it now owes -- only owes the            11 do know is that forbearance agreement gives us certain
12 discounted amount?                                         12 rights.
13 A. Yes.                                                    13    BY MR. HACKNEY:
14 Q. So the effect is that it modifies that provision in     14 Q. Okay. What if I said that when it comes to the
15 the Swap in a way that's favorable for the City?           15 interaction between Syncora's alleged control rights
16    MR. JURGENS: Objection to form.                         16 under the contract administration agreement and the
17 A. That's a fair characterization.                         17 City's alleged control right under the forbearance and
18    THE WITNESS: Sorry.                                     18 optional termination agreement, you would refuse to
19    BY MR. HACKNEY:                                         19 answer those questions on the grounds that it would
20 Q. Now, the forbearance agreement, another part of it,     20 get into attorney-client advice that you've received
21 that it allows the City to direct the Swap                 21 from your counsel, correct?
22 counterparties to terminate the Swap, correct?             22 A. That is correct.
23    MR. SHUMAKER: Objection, calls for a legal              23    MR. SHUMAKER: It most likely would,
24 conclusion.                                                24 depending upon how you phrased the question.
25    MR. JURGENS: Objection.                                 25    MR. HACKNEY: I'm asking.


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 1 any termination events where the Swap counterparty was       1 question without implicating discussions. No. It
 2 the sole affected party?                                     2 might -- it might implicate some discussions I had
 3    MR. SHUMAKER: Objection, calls for a legal                3 with counsel.
 4 conclusion.                                                  4 Q. Okay. Mr. Orr, is the forbearance agreement a
 5 A. Yeah.                                                     5 settlement?
 6    BY MR. HACKNEY:                                           6    MR. SHUMAKER: Objection, calls for a legal
 7 Q. I'm not asking for the advice. I'm asking had you         7 conclusion.
 8 evaluated that.                                              8 A. Let me say this. I'm aware that the motion pending in
 9 A. We had evaluated a number of issues and suffice it to     9 front of the Court is both for -- we call in
10 say that was probably one of them.                          10 bankruptcy, what I used to call in bankruptcy, both an
11 Q. You can't remember whether it was or it wasn't?          11 assumption of an agreement and a ^ 9019 settlement.
12 A. I can't remember if --                                   12    BY MR. HACKNEY:
13 Q. Pretty technical question?                               13 Q. So it's been held out by the City as a settlement,
14 A. Yeah. As I said before, I'm not trying to be evasive.    14 correct?
15 It's just that the conversations I have with my             15 A. Yeah. I think there's a debate as to whether or not
16 counsel, investment banker, you know, on a daily            16 you need to seek settlement approval in a Chapter 9
17 basis, are -- there are days when there are dozens.         17 case, but we are.
18 Q. Now, if I asked you whether you had evaluated whether    18 Q. Okay. Does the forbearance agreement settle any
19 there were any events of default under the Swap where       19 claims on a final basis?
20 the Swap counterparties were the defaulting party --        20 A. I think it does.
21 A. Sure.                                                    21 Q. Isn't it true, though, that if the City doesn't
22 Q. -- can you answer that question?                         22 exercise the option, everyone goes back to the status
23 A. Whether I personally or whether it had been done on      23 quo ante?
24 the payoff of the team?                                     24 A. Yes. That's the contingency, yes.
25 Q. Either.                                                  25 Q. Okay. So if that were to happen, everyone's claims


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 1 A. I personally don't recall doing that. I do recall         1 would still be in play.
 2 that members of the team and I may have had those            2 A. I'm going to be careful with the word claims, but
 3 discussions, yes.                                            3 everyone would revert back to the status quo ante.
 4 Q. Is it fair to say that if I ask you to describe to me     4 Q. Okay. So whatever claims they had at the status quo
 5 what potential events of default or termination events       5 ante they'd have again?
 6 where the Swap counterparties were the sole affected         6 A. Yeah, whatever claims -- technically, whatever claims,
 7 party or the defaulting party --                             7 colloquially, whatever they had would, revert back to
 8 A. Right.                                                    8 the status quo ante.
 9 Q. -- you would decline to answer those questions on the     9 Q. Can we agree that in that eventuality no claims of any
10 basis of the attorney-client privilege?                     10 of the parties of the forbearance agreement would have
11    MR. SHUMAKER: To the extent they would                   11 been finally resolved by the forbearance agreement?
12 reveal those communications, of course.                     12 A. To the best of my knowledge, yes.
13    MR. HACKNEY: Well, I mean --                             13 Q. Now, put aside the threat of declaring an early
14 A. Yes, I would.                                            14 termination under the Swap --
15    BY MR. HACKNEY:                                          15 A. Right.
16 Q. Okay. Even if I ask you about your understanding of      16 Q. -- which we've discussed extensively today as a right
17 the position, your position is that you don't have one      17 the Swap counterparties have under the Swap --
18 independent of your legal advisors.                         18 A. Okay.
19 A. I -- on this question, I don't have one independent of   19 Q. -- put that aside. Have you evaluated, separate and
20 my legal advisors.                                          20 apart from that, whether there are other tort or
21 Q. So I can't ask you what your understanding is --         21 contract claims that the Swap counterparties may have
22 A. Right.                                                   22 against the City?
23 Q. -- because it will necessarily reveal the legal advice   23 A. I think there were discussions, but, here again, those
24 you got.                                                    24 would be wrapped up in attorney-client communications.
25 A. I'm trying to see if there's a way I can answer your     25 Q. So if I asked you to reveal the assessment of whether


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 1 there were other claims that the Swap counterparties         1 A. No. I don't recall doing that.
 2 have against the City, you would decline to answer           2 Q. So you haven't assessed that?
 3 those questions on the grounds of attorney-client            3 A. Not me independently, no.
 4 privilege?                                                   4 Q. Okay. And it's not something you took into account as
 5 A. I think I would have to. I do recall discussions, but     5 part of this agreement?
 6 I think I'd have to decline on the basis of                  6 A. No. We -- there was a discussion about the interest
 7 attorney-client privilege.                                   7 of all the parties. I, independently, did not
 8 Q. Have the Swap counterparties threatened to bring any      8 handicap whether the service corporations might bring
 9 claims against the City?                                     9 a claim against the City. I think there were
10 A. Well, here again, being careful with the word claims,    10 discussions about it. Many of those discussions would
11 you mean unrelated to the defaults such as tort             11 have been caught up in the general discussions that I
12 claims?                                                     12 was having with counsel and my other advisors.
13 Q. I guess I would say the Swap agreement is one you        13 Q. And you wouldn't be able to discuss them?
14 understand that's between the Swap counterparties and       14 A. No.
15 the service corporations.                                   15 Q. But the service corporations' claims against the City,
16 A. Right.                                                   16 those are not resolved by the forbearance agreement,
17 Q. Okay. So I'm trying to put that in a box for now.        17 correct?
18 A. Right.                                                   18 A. If they have any. I don't think they are.
19 Q. And we've talked about that extensively.                 19 Q. Let me cut to it. Is it fair to say you haven't given
20 A. Right.                                                   20 this any real consideration?
21 Q. So other than any claims they may have against the       21 A. Yeah. We -- it is fair to say that it was -- there
22 service corporations --                                     22 was no real deep consideration of it. We did consider
23 A. Right.                                                   23 it.
24 Q. -- that could absolutely have implications for the       24 Q. Now, as the City evaluated whether it has claims
25 City, but other than that, have the Swap                    25 against the Swap counterparties --


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 1 counterparties threatened to bring any other claims          1 A. Um-hm.
 2 directly against the City?                                   2 Q. -- okay?
 3 A. None that I'm aware of.                                   3 A. Um-hm.
 4 Q. I may have asked you this earlier, but I just -- I        4 Q. And if I ask you to tell me what claims you have, will
 5 want to make sure that I didn't miss it and so if it's       5 you tell me them or will you assert the privilege?
 6 asked and answered I apologize, but did the City             6    MR. SHUMAKER: I would instruct the witness
 7 evaluate whether it is in breach of the collateral           7 that may implicate attorney-client communications.
 8 agreement?                                                   8 A. I would have no independent knowledge of what claims
 9 A. Did we evaluate it?                                       9 may have other than discussions I've had with counsel
10 Q. Yeah.                                                    10 so I wouldn't answer.
11 A. Yes, I and my consultants evaluated it.                  11    BY MR. HACKNEY:
12 Q. Is this one where if I asked you the results of those    12 Q. Okay. If I ask you what's the likelihood that you'll
13 evaluations you'd decline to answer?                        13 win on the claims?
14 A. Yes.                                                     14 A. Same answer.
15 Q. It is true that prior to the forbearance agreement,      15 Q. You would follow the advice --
16 the only direct contractual agreement under which both      16 A. Yeah.
17 the City and the Swap counterparties had signed was         17 Q. -- and assert the privilege?
18 the collateral agreement, correct?                          18 A. Yeah.
19 A. To the best of my knowledge, that's correct.             19 Q. Okay.
20 Q. Now, have the service corporations threatened to bring   20 A. In my prior life, as an attorney, likely would be a
21 any claims against the City?                                21 hundred percent.
22 A. None that I'm aware of.                                  22 Q. Okay.
23 Q. And have you undertaken an assessment of the             23 A. But I can't say that.
24 likelihood of the service corporations to the extent        24 Q. Well, let me ask you -- let me ask you just a -- sort
25 they were to assert claims against the City?                25 of this is your understanding of the forbearance


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 1 agreement.                                                  1 lawyer.
 2 A. Right.                                                   2 A. That's a fair statement.
 3 Q. What claims are you asking the Court to approve the      3 Q. And isn't it also fair -- I will tell you I have as
 4 settlement of?                                              4 well, but --
 5 A. In claims that might be had by the parties vis-à-vis     5 A. Right.
 6 each other.                                                 6 Q. Isn't it common that settlement agreements typically
 7 Q. So any and all claims that they have under the Swaps     7 involve releases of liability by the parties against
 8 or the collateral agreement or the service contracts        8 one another?
 9 or any other contracts --                                   9 A. It is not uncommon for there to be releases in
10 A. Yes.                                                    10 settlement agreements.
11 Q. -- those claims are being resolved by the forbearance   11 Q. And I will tell you I actually was racking my brain to
12 agreement?                                                 12 see whether I ever entered into a settlement agreement
13 A. To the best of my knowledge, that is true.              13 that didn't have a release. I couldn't think of one.
14 Q. Okay. And the result of the forbearance agreement is    14 Have you ever entered into a settlement agreement that
15 that the City will be able to perform under the            15 didn't have a release?
16 forbearance agreement without being subject to any         16 A. Yes.
17 liability to any third party?                              17 Q. Okay. You have?
18 A. That is my understanding.                               18 A. Yes, I have.
19 Q. And so will the Swap counterparties, correct?           19 Q. Okay. Do you know whether the forbearance agreement
20 A. That is my understanding.                               20 contains a release of claims by the parties against
21 Q. It will give you what I'll call a clean closing?        21 one another?
22 A. As I said earlier this week, it will bring us to        22    MR. SHUMAKER: Objection, calls for legal
23 closure and certainty, yes. Earlier today.                 23 conclusion.
24 Q. That is also one of the values of this agreement to     24    You can answer.
25 both and you the Swap counterparties, you the City?        25 A. Okay. I'd have to read through it and consult with my


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 1 A. Right.                                                   1 counsel to make sure. I know the agreement speaks for
 2 Q. Which is that it absolves you for any liability in       2 itself.
 3 connection with the relevant agreements?                    3    BY MR. HACKNEY:
 4    MR. SHUMAKER: Objection to form.                         4 Q. It does, but as you sit here today, I take it you
 5    BY MR. HACKNEY:                                          5 reviewed the forbearance agreement in connection with
 6 Q. As a result of performance under the forbearance         6 the preparation for your deposition?
 7 agreement, correct?                                         7 A. Maybe not as in depth as you might think.
 8    MR. SHUMAKER: Objection calls for                        8 Q. Okay. I know you have a lot on your plate.
 9 speculation.                                                9 A. I have a lot on my plate.
10 A. My understanding is that it provides us with closure    10 Q. But I guess I'm saying are you seriously unaware as to
11 and finality regarding any claims and relationships        11 whether there's a release in the forbearance
12 that the parties have.                                     12 agreement?
13    BY MR. HACKNEY:                                         13 A. Seriously or not, I think the forbearance agreement
14 Q. Okay. And there's no trailing liability?                14 resolved all claims between the parties. Sitting here
15 A. That is correct.                                        15 today without examining it, I'm not aware as to
16 Q. And just for the record, if I asked to you assess the   16 whether or not it specifically has a release.
17 likelihood of success of all of the different claims       17 Q. Okay. So the -- whether it's in the forbearance
18 that are being resolved by the forbearance agreement,      18 agreement or in the effect of its approval, it
19 you would assert the attorney-client privilege and         19 operates as a release for everyone involved?
20 refuse to answer?                                          20 A. Yeah. The reality is -- when you asked me the
21 A. That is correct. I have made no independent             21 question before as to whether or not it has a release,
22 assessment outside of any conversation I would have        22 the reality is that to the extent you asked -- I
23 had with counsel and my advisors.                          23 believe in the motion you asked for assumptions and
24 Q. Now, Mr. Orr, I'm going to speculate you may have       24 9019 settlement that the order might well contain a
25 negotiated a settlement or two in your life as a           25 release so -- I wasn't trying to be truculent with


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 1 you. I'm just saying that, yes, the effect of the            1 under the agreement?
 2 approval of the agreement should have that impact.           2 A. As a layperson, I really haven't examined it.
 3 Q. I'm not going to try to go claim by claim because your    3 Q. So don't know one way or the other?
 4 understanding is it releases all claims of the Swap          4 A. Don't know one way or the other.
 5 counterparties, the service corporations, and the City       5 Q. Do you have a view as to whether Syncora or FGIC, for
 6 against one another?                                         6 that matter, can sue to enforce the agreement?
 7 A. Yes.                                                      7 A. I don't have one way or the other.
 8 Q. Now, the Swap insurers, as part of the forbearance        8 Q. They may have, they may not have?
 9 agreement, they get a release of their insurance             9 A. Yeah. I'd probably weigh on the side of they don't,
10 obligations under the Swap in the event the City            10 but I -- I don't have a view one way or the other.
11 directs an optional termination, correct?                   11 Q. And have you considered the possibility that if they
12 A. Yes, I believe that's true.                              12 don't have the right to sue to enforce the agreement,
13 Q. And this was one of the things that the City has         13 that they also would not have the right to sue to
14 touted, which is to say, hey, Swap insurers, pipe down      14 enforce the release that's in the agreement?
15 this is good for you, right?                                15    MR. SHUMAKER: Objection --
16    MR. SHUMAKER: Objection to form.                         16 A. They might or they might --
17 A. Yeah, without characterizing, you know, the colloquial   17    MR. SHUMAKER: -- calls for a legal
18 characterization, yes, we think that's a benefit.           18 conclusion.
19    BY MR. HACKNEY:                                          19 A. They might or they might not.
20 Q. That's a concept that you've argued in your papers --    20    BY MR. HACKNEY:
21 A. Yes.                                                     21 Q. And let's be frank. That's not your concern, right?
22 Q. -- as to why the Swap insurers should be happy?          22 A. Well, to be honest with you, you know, without getting
23 A. Yes.                                                     23 into whether or not there may be equitable rights,
24 Q. Now, do you understand you -- you have argued that       24 estoppel, third party intended, unintended beneficiary
25 this is a benefit to the Swap insurers under the            25 rights, things along those lines, what I do know --


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 1 forbearance agreement, correct?                              1 incidental benefits -- what I do know is the
 2 A. Yes, I believe so.                                        2 agreement, and what we've said is it provides a
 3 Q. Are the swap insurers third party beneficiaries as you    3 benefit to the insured.
 4 understand it as the signatories to the agreement --         4 Q. That's right, but you obviously don't represent the
 5 of the agreement?                                            5 insured, you represent the City?
 6      MR. SHUMAKER: Objection, calls for a legal              6 A. I am employed by the governor on behalf of the City,
 7 conclusion.                                                  7 that is correct.
 8 A. Here, I'm not acting as a lawyer as I understand it.      8 Q. And so if the insurer can't enforce the agreement to
 9 I'll have to decline from answering whether or not           9 take advantage of the release, that's the insurer's
10 they're third party beneficiaries. As you know,             10 problem, correct?
11 they're intended beneficiaries, incidental                  11 A. Well, without characterizing whether or not it's their
12 beneficiaries. A lot of these questions are questions       12 problem or so, my fiduciary duty runs to the City in
13 of fact, so that would draw me into a legal analysis        13 its interest; it does not necessarily run to Syncora.
14 and I'll stay away from that.                               14 Q. Yeah. Can we agree that you certainly didn't
15      BY MR. HACKNEY:                                        15 negotiate into the agreement any specific provision
16 Q. Let me -- let me -- let me -- what I'll do then is       16 granting the insurers the right to sue to enforce that
17 I'll ask you your understanding as a layperson --           17 provision?
18 A. Okay.                                                    18 A. I made no instruction to my team to negotiate such a
19 Q. -- because you are -- you can say that you're acting     19 provision.
20 as a layperson --                                           20 Q. In entering into the forbearance agreement, did you
21 A. I am.                                                    21 consider whether or not the automatic stay would apply
22 Q. -- so to speak.                                          22 to cash trapping if the City filed for bankruptcy?
23 A. Yes.                                                     23    MR. SHUMAKER: Objection, calls for a legal
24 Q. Okay. As a layperson person, do you have a view one      24 conclusion.
25 way as to whether Syncora is a third party beneficiary      25 A. Without getting -- here again, there were discussions


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 1 because, quite frankly, at the time we were in               1 A. No. I -- let's be clear. I think we had them before.
 2 negotiating this agreement in June, we were hoping           2 I think we had them around that time because in that
 3 that this agreement and its announcement was for other       3 week, when I was sued that Monday, there were
 4 creditors to -- and other stakeholders, including the        4 discussions about what they may be and we were signing
 5 labor side, to come in and negotiate additional              5 this agreement at the time.
 6 agreements. So we may have had discussion about what         6 Q. If I ask you about the specifics of the conversations
 7 the impact, if we filed bankruptcy, would have been,         7 you had about whether the automatic stay applied and
 8 but, frankly, at this time we were hoping we were            8 the likelihood that it would or wouldn't, you'll
 9 going to get a round of agreements in place.                 9 decline to answer those questions on the basis of the
10    BY MR. HACKNEY:                                          10 attorney-client privilege, correct?
11 Q. You knew that as of July 15th, when you executed the     11 A. Yes, again, today I would have to do that.
12 forbearance agreement, that bankruptcy was possible?        12 Q. The one thing I will say that we can agree on, though,
13 A. Oh, sure. We knew it was possible, yeah.                 13 is that if the automatic stay did bar cash trapping,
14 Q. Fair to say that by July 15th, given all the work that   14 that would be valuable to the City because at least
15 was going on, you were of the view that it was likely?      15 during the pendency of the bankruptcy it would then
16 A. No, not really. We had been sued -- the governor and     16 have access to the casino revenues, correct?
17 the treasurer had been sued a few weeks before that.        17 A. Well, it's -- here again, it's a hypothetical and
18 The following week I believe one union had joined in        18 contingent question, but I take your meaning, and what
19 that suit and the Monday of the week after that, the        19 I would say is I think certainly one of the benefits
20 governor and I were sued, and I believe July -- I           20 of the automatic stay is that you maintain the status
21 don't have a calendar. I believe July 15th was that         21 quo and access to cash. There are also provisions
22 Monday.                                                     22 however in the bankruptcy code -- I'm not acting as an
23 Q. It was.                                                  23 attorney, but I am aware -- of Safe Harbor provisions
24 A. Yes. So we signed this agreement and, frankly, even      24 related to certain financial instruments and you have
25 at that time, because there was a whole lot of things       25 to factor that in as well.


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 1 going on, there was litigation, there were stays in          1 Q. And those are?
 2 place, there were appeals to the state court, it             2    COURT REPORTER: Can you please slow down?
 3 certainly was possible and we were with doing                3    THE WITNESS: I'm sorry.
 4 contingency planning given the paper, but we have not        4    BY MR. HACKNEY:
 5 made any determination at that point as to whether or        5 Q. Those are risk factors that might make the automatic
 6 not, excuse me, we were going to file.                       6 stay not applicable?
 7 Q. It was certainly possible enough that it behooved you     7 A. That's correct.
 8 to analyze whether the automatic stay might be a way         8    MR. SHUMAKER: Objection, calls for a legal
 9 to get access to the casino revenues, correct?               9 conclusion.
10 A. Yeah, I don't recall whether or not we did it then or    10 A. I was informed without telling specific --
11 before or just during that week, but -- but we --           11    BY MR. HACKNEY:
12 there was some discussion about the impact of the           12 Q. Right.
13 automatic stay, yes.                                        13 A. -- conversations that those are issues you have to
14 Q. So is it possible that you did not evaluate the          14 take into consideration.
15 applicability of the automatic stay in the event of a       15 Q. And so let me try and collapse this if I can. If I
16 bankruptcy prior to executing the forbearance               16 ask you about whether the casino revenues are special
17 agreement?                                                  17 revenues being applied to indebtedness, you will
18    MR. SHUMAKER: Objection --                               18 refuse to answer?
19 A. No.                                                      19    MR. SHUMAKER: You can ask him whether he
20    MR. SHUMAKER: -- asked and answered.                     20 considered them, but in terms of likelihood of success
21 A. No. What I said is at some point during that time or     21 or communication between --
22 even prior we had to have those discussions.                22    BY MR. HACKNEY:
23    BY MR. HACKNEY:                                          23 Q. I'll do it that way.
24 Q. You may have had them in advance of July 15th, you may   24    Did you consider whether there were special
25 not have, you just can't remember?                          25 revenues that were accepted from the automatic stay


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 1 under 922(d)?                                                1 because you might be able to get longer access to cash
 2 A. We considered all of these issues including the           2 from the automatic stay than you were getting from the
 3 interaction 922(d) with 362 and I considered them in         3 forbearance agreement, correct?
 4 the context with my counsel.                                 4 A. Here again, that's a contingent it might, but that has
 5 Q. Okay. You considered whether 362(b)(17) exception for     5 to be drawn up also in discussion of potential risk
 6 Swap collateral applied?                                     6 that Safe Harbor provision would allow the
 7 A. Yes.                                                      7 counterparties to exercise their rights and therefore
 8 Q. Did you consider whether the collateral account --        8 obviate any benefits the City could receive from the
 9 rather, the gaming revenues were even property of the        9 automatic stay.
10 estate at all?                                              10 Q. That's right.
11 A. Yes.                                                     11 A. So we considered all of those.
12 Q. So you considered all those questions.                   12 Q. So just to be clear, if I ask you about the specific
13 A. Um-hm.                                                   13 ins and outs of all those potential arguments,
14 Q. Your counsel rendered advice to you about the            14 likelihoods of success and so forth, you will not
15 likelihood, the pros and cons of the arguments, and         15 answer those questions on the basis of the
16 you're not at liberty to provide that advice to us          16 attorney-client privilege, correct?
17 because it would invade the attorney-client privilege?      17 A. That is correct.
18 A. Yes, I believe that's correct.                           18 Q. Oh, I know. The City recently argued in court against
19 Q. But I do want to get -- I do want to just get your       19 yours truly that the automatic stay bars the cash
20 agreement that the question is important to at least        20 trapping provisions of the collateral agreement. Are
21 one of the benefits of the forbearance agreement which      21 you aware of that?
22 was the interim access to cash during the optional          22 A. I believe I am, yes.
23 termination period.                                         23 Q. Yeah. In fact, I think that your spokesman,
24 A. I think the question is relevant.                        24 Mr. Nowling, may have made statements in the press
25 Q. Yeah.                                                    25 about the impact of the judge's rulings. Are you


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 1 A. Yes.                                                      1 familiar with those statements?
 2 Q. In fact the optional termination period, it could end     2 A. I am.
 3 as soon as on September 16th; at the latest it goes to       3 Q. Did the Swap counterparties give their consent to the
 4 June 30, 2014, right?                                        4 City to make those arguments in court?
 5 A. Correct.                                                  5 A. I don't know.
 6    MR. SHUMAKER: Objection, document speaks                  6 Q. And -- so you don't know whether they did or they
 7 for itself.                                                  7 didn't?
 8 A. Yeah, the document --                                     8 A. That is correct.
 9    BY MR. HACKNEY:                                           9 Q. You understand that as originally designed the Swaps
10 Q. Whatever it says --                                      10 were designed to hedge against interest rate risk on
11 A. Yeah.                                                    11 the floating COPs?
12 Q. -- that's your understanding?                            12    MR. SHUMAKER: Objection, calls for a legal
13 A. Yes.                                                     13 conclusion.
14 Q. So that -- the forbearance agreement -- let's put it     14    MR. JURGENS: Objection to form as well.
15 this way, Mr. Orr. The forbearance agreement gets you       15 A. That is my understanding.
16 access to cash during the optional termination period.      16    BY MR. HACKNEY:
17 A. Yes, I believe that's true.                              17 Q. And I can unpack it if you want. I know we get into
18 Q. If the automatic stay applied, it might get access to    18 the --
19 the casino revenue during the whole bankruptcy,             19 A. That's my understanding.
20 correct?                                                    20 Q. Yeah, okay. Let's just do basics of interest rate
21 A. It might.                                                21 risk, which is if the interest rates go above the
22 Q. Yeah. We're talking about different things that you      22 hedge rate, then now the Swap counterparties have to
23 consider as you're analyzing your options, right?           23 pay the difference to the service corporations so that
24 A. Yeah, correct.                                           24 they can pay the difference to the floating rate COPs,
25 Q. And this is -- this is a potentially important one       25 correct?


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 1    MR. SHUMAKER: Objection, form.                          1 Q. Okay. No disrespect to the fine lawyers at Jones Day.
 2 A. That is my understanding.                               2 I don't know if I can calculate future interest rates
 3    BY MR. HACKNEY:                                         3 as a lawyer.
 4 Q. That's how the hedge works.                             4     It was in Miller Buckfire's province to do
 5    Now, interest rates do not favor the City               5 it. They may have done it in conjunction with Jones
 6 in the Swaps -- we asked that earlier.                     6 Day?
 7 A. Right.                                                  7 A. Yes, yes.
 8 Q. I will strike that.                                     8 Q. Okay. And any review of forward curves or different
 9    But more basics of interest rate hedging,               9 interest rate implications currently existing in the
10 so as the interest rates go up and start to approach      10 market would have been done by Miller Buckfire?
11 the hedge, the amount the City owes under the Swap via    11 A. Yes.
12 service corporations goes down?                           12 Q. And your recollection is that it was done and it was
13 A. That -- that is my understanding.                      13 something that you considered as part of the decision
14 Q. And as it crosses over the hedge line, the service     14 entering into this agreement?
15 corporation could actually be in the money?               15 A. I believe so.
16    MR. JURGENS: Objection to form.                        16 Q. You're aware, for example, that the Federal Reserve
17 A. Yeah, here again, we had the discussion about in the   17 has indicated intent to scale back its monthly bond
18 money or not, but to the extent your point is saying      18 purchases?
19 that they would benefit more from the hedge than the      19 A. I heard that.
20 counterparties would, that is my understanding.           20 Q. And --
21    BY MR. HACKNEY:                                        21 A. Quantitative reasoning --
22 Q. When the interest rates get above the hedge line?      22 Q. Yeah.
23 A. (Nods head).                                           23 A. Yeah.
24 Q. That's right.                                          24 Q. And you're aware that many people believe that that
25    Okay. Now, when you were entering into the             25 may lead interest rates to rise; isn't that right?


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 1 forbearance agreement on July 17th, what steps did you     1 A. Yes.
 2 take personally to evaluate future -- I'm sorry. I         2 Q. Okay. Did you analyze the likelihood that the
 3 misspoke, didn't I?                                        3 interest rates would rise or was that also tasked to
 4 A. Yeah.                                                   4 Miller Buckfire?
 5 Q. When you entered into the forbearance agreement on      5 A. I didn't do it independently. That would have been
 6 July 15th --                                               6 tasked to Miller Buckfire.
 7 A. Right.                                                  7 Q. And if I asked what that analysis showed, I would have
 8 Q. -- what steps did you take prior to that time to        8 to ask Mr. Buckfire that?
 9 evaluate future interest rate moves?                       9 A. Yes, you would.
10 A. Any discussions in those -- that regard would have     10 Q. Okay.
11 been with our investment bankers and generally with       11 A. Yes, you would.
12 our attorneys. What I'm trying to think of is were        12 Q. Let me ask you about -- in the motion to assume the
13 there any discussions that I had with Miller Buckfire     13 forbearance agreement, the City states that it has
14 which would not have been confidential in that regard.    14 examined whether there are viable actions to challenge
15 I don't think that there were. What I can say is that     15 the Swap contracts. Do you recall that?
16 we evaluated the potentiality of the -- of the            16 A. Yes.
17 interest rate fluctuation as indexed to LIBOR going up    17 Q. Under what theory could the City challenge the
18 or down, but I think most of those, if not all of         18 validity of the Swap contracts?
19 them, were in communications with one or more of my       19 A. Any theories that we discussed -- I'll give you two
20 attorneys.                                                20 answers. One, many of the theories, my understanding
21 Q. And when you say we evaluated the interest rate        21 is and somebody -- I haven't read all of the
22 fluctuations, that would have been tasked to Miller       22 objections, but I've read some of them. Some of the
23 Buckfire to do?                                           23 objections in this case have discussed some of those
24 A. Yes, Miller Buckfire in conjunction with folks from    24 theories.
25 Jones Day. Yeah, sure.                                    25    Two, any theories which we would have


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 1 examined, either independently or in the context of          1 Q. Okay. And you'll assert the attorney-client privilege
 2 reviewing and handicapping the probability of success        2 as a protection against describing the invalidity of
 3 of some of the objections, would have been done with         3 the COPs analysis?
 4 counsel.                                                     4 A. Yes, because I did no independent analysis.
 5 Q. And so you'll refuse to describe both the theories and    5 Q. Has the City completed its investigation into this
 6 their likelihood of success because it would invade          6 issue?
 7 the attorney-client privilege; is that correct?              7 A. No. The City's investigation into a number of things
 8 A. Yes. Unfortunately, yes.                                  8 are ongoing.
 9 Q. If I asked you what likelihood of success the City        9 Q. Okay. And this is one of them?
10 attributes to an action seeking to declare the Swaps        10 A. This is one of them, yeah.
11 invalid, you'll decline to answer that on the               11 Q. Okay. So the City hasn't reached a conclusion on this
12 attorney-client privilege?                                  12 subject because it hasn't concluded its investigation
13 A. Yes.                                                     13 into the subject, correct?
14 Q. Can we agree that if the Swaps are not valid, it         14 A. It -- I think that's fair, yes.
15 wouldn't make sense for you to enter into the               15 Q. And has the City considered whether the service
16 forbearance agreement?                                      16 agreements between the service corporations and the
17 A. No, not necessarily. There may be other prudential       17 City are lawful?
18 reasons that the City might want to be bring closure        18 A. I don't recall if we looked into that.
19 and certainty is access to its cash flow irrespective       19 Q. So that's one that you --
20 of the probability that the Swaps are valid or not          20 A. I just don't recall if that was one.
21 valid.                                                      21 Q. You may have investigated, you may have not?
22 Q. In your proposal for creditors on June 14, 2013, you     22 A. Correct. I don't recall that one.
23 said that the City has identified certain issues            23 Q. If you have investigated, do you know if the
24 related to the validity and/or enforceability of the        24 investigation has concluded or do you not know?
25 COPs --                                                     25 A. No. If we had investigated or are investigating it,


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 1 A. Yes.                                                      1 my understanding it would not have been concluded.
 2 Q. -- that may warrant further investigation.                2 Q. Okay. So much like with the COPs, generally the
 3 A. Yes.                                                      3 validity of the service contracts with the City is a
 4 Q. Do you remember that?                                     4 subject of ongoing investigation that has not yet
 5 A. Yes.                                                      5 concluded.
 6 Q. I'm saving us from having to go through that --           6 A. It may be the subject of ongoing investigation which
 7 A. Yeah, yeah. No. I remember.                               7 has not yet concluded.
 8 Q. What issues has the City identified?                      8 Q. Okay. If I asked you how either of those two
 9    MR. SHUMAKER: Again, I'm going to caution                 9 investigations, the one into the COPs validity or the
10 the witness --                                              10 one into the service contracts validity, impacted your
11 A. Yeah.                                                    11 decision to enter into the forbearance agreement, you
12    MR. SHUMAKER: -- if this is going to                     12 will decline to answer because it would tend to reveal
13 reveal attorney-client communications to not answer.        13 attorney-client communications?
14    Subject to that, you can answer.                         14 A. For all the reasons we discussed today, the -- yes, I
15 A. Here again, there would be no issues that -- and I       15 would have to.
16 hate to keep saying this. There'd be no issues that I       16 Q. Mr. Orr, let me ask you about under section 803 of the
17 independently would have identified because I'm trying      17 service contracts --
18 very hard not to act as a lawyer. I would have only         18 A. Yeah.
19 identified those issues and had discussions of them in      19 Q. -- I'm going to save us both from having to go through
20 consultations with my attorneys. So whether there are       20 them --
21 issues such as void ab initio, fraud, any of the other      21 A. Yeah.
22 issues that typically go to contracts, I would only         22 Q. -- so I'll represent to you what it relates to and see
23 have had those discussions with counsel, so                 23 if you've heard of it.
24 consequently I can't speak to this.                         24 A. Okay.
25    BY MR. HACKNEY:                                          25 Q. Okay?


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 1    Under section 803 of the service contracts               1 A. Okay.
 2 payments by the City to the service corporations are        2 Q. Do you know generally what I mean when I say that?
 3 classified according to a waterfall.                        3 A. Yes. The original documents by which the City
 4 A. Um-hm.                                                   4 borrowed money, 1.4 billion, for the unfunded
 5 Q. Have you heard of this waterfall?                        5 actuarial liability --
 6 A. Yes.                                                     6    COURT REPORTER: For the --
 7 Q. Okay. Did you evaluate whether there were any claims     7 A. For the unfunded actuarial liability involve -- the
 8 that any parties to the structure might have against        8 organic documents.
 9 one another if the forbearance agreement leads to the       9    BY MR. HACKNEY:
10 payment of monies outside of the waterfall?                10 Q. That is exactly correct. And, to name a few, there
11 A. I assume you're alluding to prioritization or           11 are the service contracts, the contract administration
12 subordination in claims along those regards, and the       12 agreement, the trust agreement, and the master and --
13 answer: I think there probably was, but, here again,       13 and amended Swap agreements, correct?
14 I would -- I did not do it independently. It would         14 A. Yes.
15 have been done by my counsel.                              15 Q. You've heard of all of those?
16 Q. Okay. So you can't tell me the fruits of the analysis   16 A. Yes.
17 or the City's position on the likelihood of success on     17 Q. And there are multiple versions of them?
18 the issue because it's protected by the                    18 A. There are multiple versions of them.
19 attorney-client --                                         19 Q. For example, there are two service contracts --
20 A. That is --                                              20 A. That's right.
21 Q. -- privilege?                                           21 Q. -- because there are two service corporations.
22 A. -- correct.                                             22 A. That's right.
23 Q. If I ask you how it impacted your decision to enter     23 Q. Now, your understanding is that some of these
24 into the forbearance agreement, you'd also not be able     24 documents were amended in 2009 in connection with the
25 to answer that on the basis of the attorney-client         25 addition of the collateral agreement to the package,


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 1 privilege?                                                  1 correct?
 2 A. That is correct. In addition, that's part of the         2 A. Yes. I'm going to take your meaning -- the amendment
 3 deliberative process.                                       3 to mean that's the -- yes, the net effect of what
 4 Q. Have you analyzed whether or not COP holders might       4 happened in 2009.
 5 have claims against the Swap counterparties if the          5 Q. Okay. Did you know, for example, that the service
 6 City exercises the optional termination right?              6 contracts were also literally amended --
 7 A. There -- have we analyzed it? The answer is yes, I       7 A. Yes.
 8 believe so.                                                 8 Q. -- as part of that?
 9 Q. Okay. What's the result of that analysis?                9 A. Yes. We're talking generally about all the documents
10 A. Here again, any discussion would have been caught up    10 without specifically going into each one.
11 in discussions I would have had with my counsel in         11 Q. Although I did -- I did in that last one.
12 that regard, so I decline to answer the question.          12 A. Yeah, you did, and so I'm following your lead on what
13 Q. Okay. Have you analyzed whether those potential         13 we're talking about.
14 claims may have an impact on whether the Swap              14 Q. Okay.
15 counterparties go forward with the optional                15 A. Okay.
16 termination amount -- optional termination?                16 Q. The Swaps were also themselves amended in addition to
17 A. I don't recall if we did that specific analysis. I --   17 the collateral agreement being created?
18 I think that was probably caught up in the whole           18 A. I believe so.
19 universe of analyses of potential claims, pros and         19 Q. Now, you're aware that these contracts that form the
20 cons analyses, but I don't recall that one                 20 2006 COPs Swap transaction documents were contracts
21 specifically.                                              21 that were entered into the same day back in 2006? I
22 Q. We've just been talking now about the COPs. We've       22 know you weren't there.
23 talked about the Swaps a lot. I'm going to for a           23 A. Yeah, I wasn't there, and I have seen them. I just
24 moment reference the 2006 COPs Swap transaction            24 don't recall sitting here today if they're the same
25 documents.                                                 25 day. If you're representing to me that is a fact, I


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 1 monthly basis under the forbearance agreement --            1 A. Yes.
 2 A. Yes.                                                     2 Q. -- effectively a pot of 2 billion dollars of bonds.
 3 Q. -- you net about 11 million?                             3 A. Correct.
 4 A. I think that's correct.                                  4 Q. And I want to distinguish between two concepts and
 5 Q. Okay. Your claim is that these revenues are necessary    5 make sure that we're on the same page because I think
 6 to the operation of the City. I think we discussed          6 that we are.
 7 that earlier.                                               7 A. Right.
 8 A. Yes.                                                     8 Q. The first point is that you do agree that you're not
 9 Q. And in fact it's your expectation that you will use      9 going to take the casino revenues and put it on top of
10 these revenues to fund the reinvestment program that       10 the 2 billion pot to make a larger recovery for
11 you have planned with respect to the 1.25 billion          11 creditors.
12 dollars of reinvestment in the City over the next ten      12 A. Yes, that's fair.
13 years?                                                     13 Q. But you are saying that there could be some value to
14 A. Yes, that's correct. An average of 125 million a year   14 the creditors of a revitalized Detroit because that
15 which a big component of it is this revenue.               15 Detroit will be more able to perform under the
16 Q. Okay. So fair statement, you're going to take the       16 2 billion dollars in bonds that you're going to give
17 casino revenues and you're going to plow them into the     17 them as part of your proposal?
18 City, correct?                                             18 A. That's correct.
19 A. More -- I mean, money goes into a bathtub, but yes.     19 Q. Okay. Did I summarize accurately the distinction you
20 The casino -- we don't have the casino revenue. We         20 were trying to draw there?
21 have no other source to make reinvestment in the City.     21 A. Yes. Yes. There's a broader concept about the need
22 Q. And that's what you want to do?                         22 to revitalize the City and grow beyond just the
23 A. Yes.                                                    23 interest of the creditors. It's also for the citizens
24 Q. And so as a creditor, I'm going to make the obvious     24 and residents and future of the City.
25 point that you don't plan to take the casino revenues      25 Q. Oh, absolutely. I understand that.


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 1 and give them to the unsecured creditors, correct?          1 A. But, yes, that's generally -- no direct benefit from
 2 A. I think that's generally a fair characterization.        2 the casino revenue.
 3 Q. So isn't it fair that other than perhaps certainly       3 Q. Consistent with what we've just discussed then, you
 4 benefitting the people of Detroit if you reinvested in      4 haven't undertaken an analysis to show how much
 5 the City, the creditors themselves will not see their       5 creditor -- unsecured creditor recoveries will be
 6 recoveries enhanced by the fact that the City has           6 enhanced if the forbearance agreement is approved,
 7 gained access to these casino revenues, correct?            7 because you intend to use the money to reinvest in the
 8    MR. SHUMAKER: Objection, calls for                       8 City.
 9 speculation.                                                9 A. No. I'm not sure that's true. I mean, that's why I
10 A. Yeah, I'm going to be careful here because one of the   10 was saying before, part of it is enhancing the
11 things we've offered in our proposal, June 14th            11 stability of the City and its ability to meet or
12 proposal, is a 2 billion dollar note that has some         12 actually to provide for that 2 billion dollar note.
13 capacity to fluctuate. Generally speaking, your            13 It depends on large part on the ability to stabilize
14 statement is true, but there's another concept that        14 the City.
15 without this reinvestment there's a very real chance       15 Q. I understand that as a general concept, but I meant
16 that the City will have no chance to stabilize and         16 have you undertaken actually any actual analysis of
17 grow and the creditors will see no opportunity for any     17 the potential Delta 2 creditor recovery?
18 benefit because the City would have an inability of --     18 A. Oh, from the 120 -- from the casino revenue?
19 continue to decline, quality of life will continue to      19 Q. Right.
20 decline, revenue from other streams will continue to       20 A. Yes, I believe we have.
21 decline, and the City's ability to satisfy its             21 Q. And what does it show?
22 obligations to the creditors will continue to decline.     22 A. Here again, that's -- it's sensitive and, in addition,
23 Q. Now, I understand that distinction, and we're talking   23 I believe those discussions were caught up in
24 now about the proposal you've made to creditors that       24 discussions I had with counsel, so I'm going to have
25 you would give all of the unsecureds --                    25 to decline.


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 1 as has been reported. We're currently doing an               1 A. You asked me if there were any new ones going in.
 2 analysis of our grants administration and application        2 Q. Okay.
 3 process to make it better, and I think we're also            3 A. We -- the City has received, in past years and
 4 reviewing it for making specific grant requests, I           4 currently, almost 300 million dollars in federal
 5 think some specifically related to public safety.            5 grants.
 6    So I don't know if -- sitting here today if               6 Q. Okay.
 7 actual documents have been submitted, but I know we          7 A. Okay. We hoped -- and they're being administered
 8 are mining the federal programs with an eye toward           8 through 71 different programs in the City. I think
 9 making applications and some have been made or some          9 that's been publicly discussed before. We hope to
10 are near to being made.                                     10 apply for even more grants. So I can be clear, what
11 Q. Are there specific grants you're targeting in this       11 we are trying to do is to get some assistance so that
12 application process?                                        12 we can get better at this process, this administration
13 A. That's handled by the folks in the City bureaucracy      13 application process, so we would be eligible for more
14 and consultants, so I -- as I said, health, safety and      14 federal assistance that's already existing.
15 welfare, meaning police, fire, EMT, City grants             15 Q. And how much do you estimate that more federal
16 meaning blight, HUD grants and others, yes, but             16 assistance to be?
17 sitting here today, I don't know which specific ones        17 A. I have no idea. Whatever -- whatever we can get. If
18 have been submitted.                                        18 it's several millions more, if it's several hundreds
19 Q. And who was handling that process?                       19 millions more, we're going to apply for it.
20 A. Ultimately, in my office, it would be a combination of   20 Q. Do you think it's a possibility it could be hundreds
21 the existing -- hopefully in the City as well --            21 of millions more?
22 existing grant procurers, you know, whether they're at      22 A. Possibility it could be.
23 different departments in planning and development,          23 Q. Earlier in your testimony you were asked a lot of
24 police and fire. It would be at that level, at a line       24 questions about legal analyses or legal claims that
25 level, would be applying for grants.                        25 might have been made, and on those questions you


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 1 Q. Is that going to happen under your supervision?           1 claimed attorney-client privilege --
 2 A. I certainly hope so, yes.                                 2 A. Yes.
 3 Q. Do you have any idea of how much money in grant           3 Q. -- and said that you didn't have an independent view
 4 programs might be available to the City?                     4 that didn't come from attorney-client communications.
 5 A. Well, the City has already applied of somewhere in the    5 A. Yes.
 6 neighborhood of 300 million in 71 programs. We have          6 Q. Okay. I want to ask, without divulging what the
 7 been told that none of those 71 programs are in              7 advice was of your counsel, can you just list for me
 8 compliance. Some of those programs we're receiving           8 what the topics were on which you got advice, or would
 9 technical assistance from HUD --                             9 you claim the privilege as to just the topics as well?
10    COURT REPORTER: I need you to slow down.                 10 A. Maybe I can do it this way. I think I've said before
11    THE WITNESS: I'm sorry.                                  11 that in this case, for instance, your client has filed
12 A. Some of those programs we're receiving technical         12 an objection.
13 assistance, for instance, from HUD, and our intent is       13 Q. Yes, it has.
14 to get our grants administration and application            14 A. And in this case many objections have been filed and
15 process more up to date and streamlined so we can           15 many of the topics listed in those objections, and I
16 apply for as many grants as we can possibly get our         16 think I said with Mr. Hackney, whether it was
17 hands on.                                                   17 subordination, prioritization, equitable estoppel,
18    BY MS. ENGLISH:                                          18 tort, invalidation of liens ab initio, whatever they
19 Q. Okay. You confused me there for a minute because         19 were, none of those analyses or claims came as a
20 you've said you've got a bunch of grant applications        20 surprise to me and that in some fashion -- without
21 already in with respect to programs that are                21 divulging what I had spoken with to my counsel, in
22 noncompliant, but I thought you said earlier you don't      22 some fashion issues such as those had been discussed
23 have any grant applications in.                             23 and analyzed with my counsel, attorneys and advisors.
24 A. No, no, no.                                              24 Q. So, for example, if -- as you know, Ambac filed an
25 Q. Okay.                                                    25 objection, and --


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 1 A. Yes.                                                      1 prepared, analyses, I can't give you a compendium or
 2 Q. -- one of the arguments raised was whether the Swap       2 an exhaustive list of things that were considered, so
 3 obligations themselves were void ab initio because           3 I don't want to leave you with the misimpression that
 4 they did not comply with Act 34.                             4 somehow the analysis wasn't complete or we didn't
 5 A. Yes.                                                      5 consider more issues than the one I did. We did.
 6 Q. You're familiar with that argument that we raised?        6 Those are just the ones that came, sitting here
 7 A. Yeah.                                                     7 today -- you asked me a question -- off the top of my
 8 Q. Can you -- and again without asking -- I'm not asking     8 head that I remembered for instance.
 9 you to divulge what the advice was or what the               9 Q. Did you have legal analysis done on whether the Swaps
10 analysis was you got from your counsel, but can you         10 transactions complied with Act 34?
11 tell me what issues, just by naming the topics, you         11 A. As I said, without getting into discussions with my
12 sought advice on with respect to that argument?             12 counsel, a whole panoply of issues, some of which are
13    MR. SHUMAKER: Well, the seeking of advice                13 contained in the objections filed, including those
14 somewhat implicates communications. If you were to          14 filed by your client, were examined.
15 look at topics perhaps as to whether he regarding your      15 Q. Okay. Now can you answer my question? Did you have
16 objection whether he -- they were raised, without           16 legal analysis done on whether the Swap transactions
17 going into the communications, I think he could             17 complied with Act 34?
18 respond to that.                                            18 A. As I said --
19    BY MS. ENGLISH:                                          19    MR. SHUMAKER: Objection, asked and
20 Q. That's exactly what I'm asking.                          20 answered.
21 A. Okay. Well, for instance, whether or not arguments       21 A. As I said --
22 such as that would erase the obligation in toto or          22    MR. SHUMAKER: If you want to share with
23 subordinate it to a lower level, whether or not an          23 him the argument, that might help.
24 obligation like that would raise defenses on behalf of      24 A. There are a whole panoply of issues, some of them
25 the obligor of equitable estoppel to the City, whether      25 contained in the objections such as the one filed by


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 1 or not there are facts surrounding those documents and       1 your client which were examined and reviewed.
 2 liens that would equitably raise issues as far as            2    BY MS. ENGLISH:
 3 their validity beyond void ab initio, whether or not         3 Q. Was Act 34 one of them?
 4 the law in the district and the circuit supported a          4 A. More than likely, yes.
 5 clean remedy that could be easily obtained, and              5 Q. More than likely? You don't know?
 6 whether or not it would be expensive and extensive           6 A. No. Sitting here today, I just said to you, for
 7 litigation and appeals over a period of time, things         7 instance, that many of the issues, without being a
 8 such as those were discussed and examined.                   8 compendium or being exhaustive, were examined. Act 34
 9 Q. When you say whether there were equitable issues, what    9 was probably one of them. I did not mean for my
10 do you mean by that?                                        10 testimony to be exhaustive because I don't have the
11 A. Here again, without going into discussion, any of the    11 analyses or the benefit of discussing them with my
12 concern -- equity is -- implicates action such as           12 client prior to your question today.
13 clean hands. Whether there were issues surrounding          13 Q. I do understand the answers that you're giving me.
14 the City's conduct and issues along those lines, that       14 They're just not quite answers to the questions I'm
15 would be factually intensive and lead to, for               15 asking.
16 instance, increased litigation costs which I think is       16 A. Okay.
17 mentioned in our motion or some of the papers we            17 Q. So let me -- in your answer right now when I was
18 filed, things along those lines, general equitable          18 trying to hone in on was Act 34 --
19 concerns.                                                   19 A. Um-hm.
20 Q. When you just listed for me the types of concerns and    20 Q. -- examined, right?
21 topics you were exploring with counsel, you didn't          21 A. Yes.
22 mention Act 34.                                             22 Q. You said probably.
23 A. Well, as I said, I said for instance. I didn't mean      23 A. Yes.
24 for it to be an exhaustive list, and that's why             24 Q. So you're not sure?
25 without sitting here today, counsel, memos that were        25 A. No. I said --


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 1    MR. SHUMAKER: Objection, asked and                        1 counterparties?
 2 answered.                                                    2 A. Not without the advice of counsel, no.
 3 A. I'll say it again. Probably means that it was, but I      3 Q. Why didn't the City just sue the Swap counterparties
 4 don't want my answer to represent to you that it was a       4 and then negotiate from there?
 5 compendium. If you want to keep asking me about Act          5 A. You know, one of the things that we have, both in
 6 34, that's fine, but I said more likely than not it          6 bankruptcy and in Public Act 436, is that in the
 7 was examined. I -- just sitting here right now, I            7 deliberative process the emergency manager has
 8 don't have an independent recollection of all the            8 discretion to make decisions, business judgment
 9 things we examined. Act 34 was more than likely one          9 decisions, within that discretion, irrespective of
10 of them.                                                    10 third parties, the decisions as to how that should
11    BY MS. ENGLISH:                                          11 have occurred.
12 Q. Okay. But sitting here today you don't have an           12    We made a decision in consultation with
13 independent recollection for sure that Act 34 was           13 counsel that this was the best way to proceed.
14 looked at; is that correct?                                 14 Commencing litigation might well have created a
15 A. I just said --                                           15 cascade of other events such as the very event we are
16    MR. SHUMAKER: Objection, asked and                       16 trying to avoid which is trapping the casino revenue
17 answered.                                                   17 for time and a number of months and/or years which
18 A. I just said it's more likely than not.                   18 would have made the probability of me completing my
19    BY MS. ENGLISH:                                          19 mission within the time frame of the statute
20 Q. Sitting here today do you have a recollection as to      20 difficult.
21 whether there was legal analysis done as to the             21 Q. If the City couldn't get a deal such as the
22 validity of the pledge of casino revenues under the         22 forbearance agreement, was the City prepared to sue
23 gaming act?                                                 23 the Swap counterparties then?
24 A. I thought you just asked -- well, suffice it to say I    24    MR. SHUMAKER: Objection to the extent that
25 believe so.                                                 25 question is asking for attorney-client privileged


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 1 Q. You believe so?                                           1 communication. I'll object.
 2 A. Yes.                                                      2    If you have some independent understanding,
 3 Q. Are you sure?                                             3 you can answer.
 4 A. I believe so.                                             4 A. Mrs. English, I'll say this. Without getting into
 5 Q. Are you sure?                                             5 communications with my counsel, we examined all
 6 A. I believe so.                                             6 alternatives, and as I said earlier with Mr. Hackney,
 7    MR. SHUMAKER: Objection, asked and                        7 including potential litigation.
 8 answered.                                                    8    BY MS. ENGLISH:
 9    BY MS. ENGLISH:                                           9 Q. If you hadn't gotten a deal, were you prepared to sue
10 Q. Do you recall seeing a legal analysis or memo that was   10 them then?
11 prepared with respect to the validity of the pledge of      11    MR. SHUMAKER: Objection, calls for
12 casino revenues under the gaming act?                       12 speculation.
13 A. Ms. English, I see -- I see a lot of memos. As I said    13 A. Yeah, I was going to say. I don't know. We'd have to
14 before this line of questioning, it's more likely than      14 examine the situation on the ground at that time.
15 not that I did, but sitting here today, in an effort        15    BY MS. ENGLISH:
16 to be accurate, I don't specifically recall all of the      16 Q. Okay. Let me ask you this. If the forbearance
17 issues we examined. More likely than not, it included       17 agreement is not approved by the bankruptcy court,
18 Act 34, it included validity of liens.                      18 will the City then sue the Swap counterparties?
19    COURT REPORTER: It included validity --                  19    MR. SHUMAKER: Objection, calls for
20    THE WITNESS: Validity of liens.                          20 speculation.
21    COURT REPORTER: Thank you.                               21 A. Here again, it's a different version of the prior
22    BY MS. ENGLISH:                                          22 question which it calls me to speculate as to what we
23 Q. Did you make an independent assessment apart from        23 would do if the Court does not approve the agreement.
24 advice of counsel as to the strengths -- strengths or       24    BY MS. ENGLISH:
25 weaknesses of the City's claims against the Swap            25 Q. If there were to be litigation with the Swap


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 1 counterparties, do you have some sense as to what            1 would say that, as I said before this afternoon, there
 2 claims might be asserted against the Swap                    2 was analysis of the potential claims, strengths and
 3 counterparties?                                              3 weaknesses and options available to the City.
 4    MR. SHUMAKER: Objection, asked and                        4 Those -- some of those were prepared in writing, yes.
 5 answered.                                                    5 Q. You just mentioned a draft complaint. Was there ever
 6 A. Yeah, as we said before, those are discussions that       6 a draft complaint prepared?
 7 I've had with my counsel. I would consult with them          7    MR. SHUMAKER: I think you mischaracterized
 8 as to our possible -- I can't tell you in direct             8 what he said. That's my objection.
 9 response to your question and this line of questioning       9 A. Yeah, as I said, some of those types of things could
10 what we would do. What I can tell you is that we            10 include a draft complaint. I don't recall seeing a
11 would engage in a process of examining what our             11 draft complaint.
12 alternatives were and try to make an informed and           12    BY MS. ENGLISH:
13 reasonable decision based upon the information we had       13 Q. Do you recall seeing a memo that outlined strengths
14 at that time.                                               14 and weaknesses of claims that could be asserted in a
15    BY MS. ENGLISH:                                          15 complaint?
16 Q. Okay. So sitting here today you are not able to tell     16 A. As I said before, I think there were memorandum and
17 me even a single claim that the City might assert           17 advice that was given regarding the various claims,
18 against the Swap counterparties?                            18 defenses and alternatives available to the City which
19 A. There are a number of claims that the City might         19 could have included a memorandum of the nature you're
20 assert. As I said earlier today, some of them might         20 talking about.
21 be framed in some of the objections. Whether or not         21 Q. It could have included it --
22 we would ultimately assert those, depends upon a            22 A. It could.
23 number of different factors that we would have to           23 Q. -- but you're not sure whether it did or not?
24 examine at that point.                                      24 A. Sitting here today I don't specifically remember all
25 Q. Well, in the forbearance agreement, the City is giving   25 the memos that would fit the description that you're


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 1 up the right to assert claims against the Swap               1 making. There were memos discussing the various
 2 counterparties, correct?                                     2 strengths and weaknesses of the positions.
 3 A. If the forbearance agreement is approved and we           3 Q. Did you have any analysis done as to the cost of a
 4 ultimately execute on the agreement, then yes, the           4 litigation with the Swap counterparties?
 5 parties would forebear and would not sue each other.         5 A. No. I don't recall if any of the documents included
 6 Q. Right. So all I'm asking is give me one example of        6 costs. We -- there were discussions about the
 7 one claim you're giving up in the forbearance                7 potential costs and the timing, but I don't recall if
 8 agreement.                                                   8 any of the documents did.
 9 A. I suppose any of the claims that have been implicated     9 Q. Okay. What was your best estimate as to how much a
10 in some of the objections that have been filed and, as      10 litigation with Swap counterparties would cost the
11 I said earlier today, some of those claims which is         11 City?
12 the ones we discussed a few minutes ago, such as            12 A. I don't -- I don't remember what the best estimates
13 estoppel, ab initio and those others.                       13 were. They -- they ranged from --
14 Q. Did any of your legal counsel ever prepare a memo or a   14     MR. SHUMAKER: Object. I just want to make
15 written analysis for the City that outlined a               15 sure you're not going to be revealing any
16 litigation strategy against the Swap counterparties?        16 attorney-client communications with your answer.
17 I'm not asking what would have been in it, if there         17     THE WITNESS: Okay.
18 was one. I just want to know if there was any written       18     MR. SHUMAKER: I'll interject that. I'll
19 analysis ever prepared that outlined a litigation           19 let you answer the question as to whether that was
20 strategy.                                                   20 addressed. I don't want you to go --
21 A. Well, without, here again, drawing into the              21     THE WITNESS: Okay.
22 nomenclature of a litigation strategy, because that         22     MR. SHUMAKER: -- into anything --
23 can mean a number of different things, including up --      23     THE WITNESS: Okay.
24 up to and through attaching a proposed complaint, for       24     MR. SHUMAKER: -- beyond that.
25 instance, without getting into the nomenclature, I          25 A. It was addressed, and suffice it to say I think it's


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 1 fair to assume that in litigation in the nature you're      1 Q. Did you have a lodestar analysis performed with
 2 discussing that it could go into millions of dollars.       2 respect to a litigation with the Swap counterparties?
 3     BY MS. ENGLISH:                                         3    MR. SHUMAKER: Again, I'm going to object.
 4 Q. How about the time it would take to litigate the Swap    4 I believe that that question asks the -- asks Mr. Orr
 5 counterparties? Did you estimate how long it would          5 to reveal privileged attorney-client communications
 6 take?                                                       6 when you get into specific lodestar analysis.
 7     MR. SHUMAKER: Same admonition.                          7    BY MS. ENGLISH:
 8 A. Let's -- let's do it this way. I think it's fair to      8 Q. I don't want the analysis. I just want to know
 9 say that there were discussions regarding the time for      9 whether had you one done because you mentioned it.
10 litigation and/or appeals and the costs that were          10 A. I did mention it, but, here again, I think my response
11 involved if that tack was taken.                           11 was that there was an analysis that was done. I'm not
12     BY MS. ENGLISH:                                        12 sure. I don't recall if it was as specific as the
13 Q. How long did you estimate it would take to litigate     13 type of lodestar analysis to give you an example, and
14 with Swap counterparties?                                  14 without going into conversation between me and my
15 A. I'm not sure the predicate is there that I estimated    15 counsel, I say again, we did an analysis and had
16 the length of time.                                        16 discussions regarding potential claims and defenses
17 Q. Okay. If you didn't estimate the length of time,        17 that could be asserted, the potential length of time
18 that's an okay answer to give.                             18 it would take and the significant cost that might be
19 A. Yeah. I'm trying to be as clear as I can for you and    19 incurred by the City.
20 say that there were discussions, but there's nothing       20 Q. I'm going to move on.
21 as specific as the lodestar method of analysis which       21 A. Okay. Sure.
22 you understand is time times hours billed, so on and       22 Q. Did the City obtain approval from the Michigan
23 so forth. There were discussions and there were            23 Department of Treasury for the COPs or the Swap
24 analyses about what it could be.                           24 obligations, do you know?
25 Q. Now, I have to unpack that a little bit because you     25 A. You mean initially?


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 1 mentioned the lodestar analysis, one of my favorite         1 Q. Yeah.
 2 friends. Did you have a lodestar analysis done for          2 A. I don't know. Well, wait a minute. Wait a minute.
 3 litigation with the Swap counterparties?                    3    I recall seeing a letter some time ago on
 4     MR. SHUMAKER: Objection, this is getting                4 official Michigan State letterhead -- well, I recall
 5 into the -- the specific communications between             5 seeing a letter. It may have been some form related
 6 Mr. Orr and his counsel when you start to go through        6 to the COPs. I just don't remember specifically, but
 7 what -- what are the particulars of the advice that         7 I do recall seeing a letter on Michigan letterhead
 8 was being given. I allowed you to go forward with           8 related to the transaction.
 9 whether he considered the length of litigation in his       9 Q. Okay. So I'm going to put in a request to your
10 answer, but I don't want him to go into the specifics      10 counsel.
11 of any sort of analysis that was done by counsel.          11    MS. ENGLISH: If there is an approval or a
12     With that admonition, you can answer.                  12 letter from the Michigan Department of Treasury with
13 A. Again, without going to the specifics of discussion     13 respect to the COPs or the Swaps, we'd like to request
14 I've had with counsel, there were discussions about        14 a copy of that.
15 potential length of litigation and appeals and the         15    MR. SHUMAKER: We'll look into it.
16 potential cost. Those discussions included time that       16    MS. ENGLISH: Thanks.
17 may have impaired my ability to complete my obligation     17    BY MS. ENGLISH:
18 within the time frame provided by Public Act 436, as       18 Q. Here's another one I don't know if you know the answer
19 well as significant costs, litigation cost being           19 to this.
20 incurred by the City.                                      20 A. Right.
21     BY MS. ENGLISH:                                        21 Q. Do you know if the City approved the offering circular
22 Q. Okay. Here is my question again, because in your        22 that went out with respect to the COPs?
23 answer you mentioned lodestar analysis, so I'm just        23 A. I do not.
24 asking -- it's a yes or no question.                       24 Q. You mentioned earlier that you were on conference
25 A. Um-hm.                                                  25 calls with Ken Buckfire and the principals of the Swap


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